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Attorneys at Law
216 Lakeville Road                                                  500 Village Square Crossing, Suite 101
Great Neck, New York 11020                                            Palm Beach Gardens, Florida 33410
T 516.437.3400                                                                            T 561.899.9999
F 516.334.3000                                                                            F 561.584.6434
Gary Rosen, Esq. (Admitted NY, FL, NJ, PA)
Jared Rosen, Esq. (Admitted NY, FL, NJ, MN)
Jaime Rosen, Esq. (Admitted NY, FL, NJ, CT)


October 30, 2017

Via FedEx and Email (dmcbride@kentmcbride.com)
Denis P. McBride, Esq.
Kent & McBride, P.C.
1040 Kings Highway North, Suite 600
Cherry Hill, New Jersey 08034

RE:      Sider, et.al. v. Tropicana Atlantic City Corp., et.al.
         Case No. 17-CV-4780
         United States District Court, District of New Jersey

Dear Mr. McBride:

         I am in receipt of your letter dated today.

       While you are free to do as you wish we must have portions of the items in the Room
#960 in the South Tower at the Tropicana Casino Resort (the “Room”) RETAINED and NOT
DISPOSED OF INCLUDING BUT NOT LIMITED TO:

         1.       All floor tiles located in the bathroom in the Room;

         2.       The shower curtain and shower head located in the Room.


       If you are unwilling to retain the above items, then I request that you immediately
contact me so that we may have a conference call with the Court PRIOR to your client
removing anything from the Room.

         Please confirm to me in writing either way.
                                                            Very truly yours,



                                                            Gary Rosen
